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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
________________________________________________________________________
Bridget Kaye,                                                   Case Number: 18cv897 (JRT/SER)

                                        Plaintiff,

v.                                                                     NOTICE OF PRETRIAL
                                                                   SCHEDULING CONFERENCE

Experian Information Solutions, Inc.,

                                        Defendant.
_______________________________________________________________________
      Andrew C. Walker and Bennett Hartz, Curtis Walker Attorney at Law, 4356 Nicollet
Avenue South, Minneapolis, MN 55409

      Christopher Adam Hall and Scott Quellhorst, Jones Day, 77 West Wacker, Suite 3500,
Chicago, IL 60601

       Gregory J. Myers, Lockridge, Grindal, Nauen, PLLP, 100 Washington Avenue South,
Suite 2200, Minneapolis, MN 55401
________________________________________________________________________

       If counsel for all parties are not listed above, it is the responsibility of counsel for

plaintiff to (1) immediately notify those parties and counsel of this conference, and (2) inform

those parties and counsel of the requirements set forth in this notice.

       Failure of any party or counsel to comply with any part of this Order, including emailing

a copy of the Rule 26(f) Report and confidential settlement letter to Magistrate Judge Rau

by the date specified in this Order, may result in the postponement of the pretrial conference,

an imposition of an appropriate sanction on the party, company or attorney who failed to comply,

or both. In addition to emailing the Rule 26(f) Report and confidential settlement letter, parties

are also required to complete the chart at the end of this notice with their agreed upon

dates and email one version of it to chambers one week before the Pretrial Scheduling

Conference.     A     Microsoft    Word       version   of   the     chart   can   be   found   at
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http://www.mnd.uscourts.gov/Judges/rau.shtml.

I.     DATE, TIME, PLACE AND PARTICIPANTS

       Pursuant to Rule 16 of the Federal Rules of Civil Procedure and Local Rule 16 of the

Rules of this District, a pretrial conference of trial counsel in the above matter will be held in

chambers in Room 348, U.S. Courthouse, 316 North Robert Street, St. Paul, Minnesota, on June

5, 2018 at 2:00 p.m. before United States Magistrate Judge Steven E. Rau to consider the

matters set forth in Rule 16(c), the Rule 26(f) disclosures, and related matters.

       Counsel who will be trying the case should make every effort to be present at the

conference. If this is not possible, substitute counsel should attend who can knowledgeably

discuss the dispute and the matters set forth in Rule 16(c), the Rule 26(f) disclosures, and related

matters.

       II.     MEETING, REPORTS AND DISCLOSURES REQUIRED

       A.      Pursuant to Federal Rule of Civil Procedure 26(f), trial counsel for each party

shall confer in person or by telephone to discuss (a) settlement, and (b) to prepare the report

required by Rule 26(f) and Local Rule 16.2.

       B.      If the case does not settle, no later than seven days before the date of the

conference, counsel shall jointly prepare and file with the Clerk of Court on ECF ("Electronic

Case Filing") a complete written report of the Rule 26(f) meeting. A copy of the 26(f) Report

and the confidential settlement letter shall be emailed to rau_chambers@mnd.uscourts.gov.

The Report shall contain the following information:

       1.      Date and Place of the Meeting; Identification of the Parties and Their
               Attorneys; Agenda of Matters for Pretrial Conference.

               a.      The date and place at which the meeting was held;

               b.      Name, address and occupation or business of each party, together with the
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             name, address and telephone number of the attorneys who represented
             each party at the meeting;

      c.     Name of insurance carriers that may be liable for the defense or payment
             of any damage award; and

      d.     An agenda of matters to be discussed at the Pretrial Conference.

2.    Description of the Case

      a.     A concise statement of the jurisdictional basis of the case, giving statutory
             citation and a brief narrative description;

      b.     A brief narrative of the facts giving rise to the lawsuit, including a
             description of legal claims and defenses; and

      c.     A summary itemization of the dollar amount of each element of the
             alleged damages.

3.    Pleadings

      a.     A statement of whether the Complaint and all responsive pleadings have
             been filed, and whether any party proposes to amend its pleadings;

      b.     The date by which all motions that seek to amend the pleadings to add
             parties, claims and defenses will be filed; and

      c.     Whether a jury trial is available under the law, and whether a jury trial has
             been timely demanded.

4.    Discovery Plan (If the parties are unable to agree on a discovery plan, the Report
      shall separately set forth each party's proposed plan.) Such a plan shall include
      such matters as focusing the initial discovery on preliminary issues that might be
      case dispositive or might lead to early settlement discussions, instituting
      document control mechanisms, stipulating to facts to eliminate unnecessary
      discovery, and any other matters counsel may agree upon to control litigation
      costs and delay. In addition, the plan shall provide the following information:

      a.     Date by which the initial Rule 26(a)(1) disclosures of witnesses,
             documents, itemized damage computations and insurance will be
             completed. (Note: Unless otherwise agreed by counsel, the initial
             disclosures under Rule 26(a)(1) shall be exchanged no later than 14 days
             from the Rule 26(f) meeting);

      b.     Whether the parties wish to engage in any method of alternative dispute
             resolution following Rule 26(a)(1) disclosures but before formal discovery
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            is commenced, and if not, when the parties believe that alternative dispute
            resolution would be appropriate. In addition, state the proposed method of
            alternative dispute resolution;

      c.    Whether discovery should be conducted in phases (e.g., to first discover
            information bearing on dispositive issues or on settlement), or limited to or
            focused upon, particular issues;

      d.    How the parties propose handling any issues relating to the disclosure or
            discovery of electronically stored information, including the form or forms
            in which it should be produced;

      e.    How the parties propose handling claims of privilege and protection of
            trial preparation material;

      f.    How the parties propose handling the protection of confidential
            information;

      g.    The date by which each party shall disclose the identity of expert
            witnesses and their reports under Rule 26(a)(2)(A) and (B), including
            rebuttal experts;

      h.    Whether changes should be made in the limitations on discovery imposed
            by the Federal Rules of Procedure or the Local Rules, and what other
            limitations should be imposed, if any;

      i.    The number of interrogatories each party shall be permitted to serve,
            including subparts;

      j.    The number of depositions (excluding depositions of expert witnesses)
            each party shall be permitted to take; and

      k.    The number of expert depositions each party shall be permitted to take.

5.    Close of Fact and Expert Discovery and Non-Dispositive Motions

      a.    The date by which all fact discovery shall be completed;

      b.    The date by which all expert discovery, including expert depositions, shall
            be completed;

      c.    The date by which any independent medical examination shall be
            completed and the report served on the opposing party; and

      d.    The date by which all non-dispositive motions shall be served, filed and
            heard by the Court.
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       6.      Dispositive Motions and Trial

               a.     Date by which all dispositive motions shall be served, filed and heard by
                      the Court;

               b.     Date by which case will be ready for trial;

               c.     The number of expert witnesses each party expects to call at trial; and

               d.     Estimated trial time (the number of days needed for trial, including jury
                      selection and instructions, if applicable).

       C.      Each party shall also submit a letter to Magistrate Judge Rau concerning

settlement which shall remain confidential between the Court and that party. This confidential

letter shall describe the following information: (a) the status of settlement discussions to date;

(b) whether you are interested in participating in a voluntary settlement conference with the

Magistrate Judge; (c) if you are interested in participating in a voluntary settlement conference

with the Magistrate Judge, when you believe this settlement conference should take place. The

confidential letter shall be emailed (rau_chambers@mnd.uscourts.gov) to Magistrate

Judge Rau's chambers no later than seven days before the date of the conference.

       D.      Rule 7.1 Disclosure, If Applicable. Any party that is required to file a disclosure

statement under Rule 7.1, must ensure that it properly filed.         As Rule 7.1 provides, a

nongovernmental corporate party must file a disclosure statement that (1) identifies any parent

corporation and any publicly held corporation owning 10% or more of its stock or (2) states that

there is no such corporation. This disclosure statement must be filed with its first appearance,

pleading, petition, motion, response, or other request addressed to the Court and promptly file a

supplemental statement if any required information changes.

III.   ADDITIONAL REQUIREMENTS FOR PATENT CASES

       The Pretrial Scheduling Conference for all patent cases will be conducted on the record in
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Courtroom 3C. In addition to the topics identified in Fed. R. of Civ. P. 16(a) and 16(c)(2), the

Court expects the parties to jointly prepare and provide the Court with a thirty (30) minute

tutorial on the technology involved in the patent(s) in suit. The parties are also ordered to be

prepared to discuss substantively the following issues:

       1. The specific contours of any protective order needed;

       2. Parallel litigation, including any anticipated or pending PTO review;

       3. Whether either party anticipates filing a motion for a stay;

       4. The claim construction and prior art timelines;

       5. How claim terms in contention will be winnowed down to a reasonable and

           manageable number;

       6. What subsidiary facts may be in dispute;

       7. The specific of and ESI discovery issues;

       8. The damages models to be used, e.g., lost profits, reasonable royalties, injunctive

           relief, apportionment issues for multi-component products; and

       9. The timing and means of effective ADR for this particular case.

IV.    EXERCISE OF JURISDICTION BY U.S. MAGISTRATE JUDGE PURSUANT

       TO TITLE 28, UNITED STATES CODE, SECTION 636(c)

       If the parties consent to have this matter tried before the Magistrate Judge, all counsel

must jointly sign the attached form by the date of the pretrial conference. Send the completed

form directly to the chambers of Judge John R. Tunheim at the following e-mail address:

tunheim_chambers@mnd.uscourts.gov.

Dated: May 2, 2018                                    s/ Steven E. Rau
                                                      Steven E. Rau
                                                      U.S. Magistrate Judge
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                                    MAGISTRATE JUDGE STEVEN E. RAU
                                         RULE 16 WORKSHEET

                                                           Case No.:



                                    Plaintiff,

        v.




                                    Defendants.
        .

        Type of Case:

        Date of meet and confer:

        Liable insurance carrier:



                                                       P      D        Joint       Court
Pleadings and Disclosure

If jurisdiction is based on diversity, and any party
is an LLC, determine if parties have properly
pled citizenship of LLC (based on citizenship of
members, and not principal place of business or
headquarters). If not, set deadline for addressing
issue.
Pre-discovery    disclosures        required      by
Rule26(a)(1) due
Motions which seek to amend the pleadings to
add claims or parties
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                                                  P    D          Joint           Court
Discovery

Rule 35 medical examinations to be completed
and report delivered to opposing counsel
The identity of expert witnesses and their
reports under Rule 16(a)(2)(A) and (B) for
parties that bear the burden of proof must be
disclosed and served by this date.
Rebuttal Experts
All fact discovery to be completed
All discovery to be completed, including expert
depositions
Non-Dispositive Motions

Motions shall be served, filed and HEARD

Punitive Motion

Motions for punitive damages shall be served,
filed and HEARD
Settlement Conference

Plaintiff(s) demand and thoughts re: timing
Defendant(s) demand and thoughts re: timing
Settlement conference to be held
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                                                 P     D          Joint      Court
Dispositive Motions

Dispositive motions shall be SERVED and
FILED




Trial Date
Jury or Non-Jury Trial
Number of Trial days
General

Number of depositions

Number of interrogatories (including all
subparts)
Number of document requests
Number of requests for admission
Rule 35 medical examination
Number of expert depositions

Number of experts at trial

Agreements re Electronic Discovery
(preservation, format of production, privilege
and cost-shifting)


Agreements regarding privileged information
Agreements regarding Protective Orders
ADR/Mediation Requested
